    Case 1:09-cr-00203-JTN       ECF No. 39, PageID.138          Filed 09/25/09      Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No: 1:09-cr-203-02

v                                                            HON. JANET T. NEFF

VALENTINO LOERA,

               Defendant.
                                            /


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1. The Report and Recommendation of the Magistrate Judge (Dkt 32) is approved and

adopted as the opinion of the Court.

        2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Count One of the Indictment.

        3. The written plea agreement is hereby continued under advisement pending sentencing.



Dated: September 25, 2009                             /s/Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge
